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14
                            UNITED STATES DISTRICT COURT
15

16                         CENTRAL DISTRICT OF CALIFORNIA
17     MATT SALNICK,                                  Case No. 2:17-CV-00359-CBM-JC
18                                                    FIFTH JOINT STATUS REPORT OF
                          Plaintiff,                  PARTIES
19
               vs.                                    Complaint Filed: January 17, 2017
20

21     AMERON POLE PRODUCTS, LLC,
22                         Defendant.
23

24          Plaintiff Matt Salnick (“Plaintiff” or “Salnick”) and Defendant Ameron Pole
25    Products, LLC (“Defendant” or “Ameron”), submit this Joint Status Report in
26    furtherance of the Court’s November 26, 2018 Order lifting the stay of this litigation.
27          On December 10, 2018, Plaintiff submitted the Proposed Consent Decree to
28    the to the government for its 45-day review period.

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 1          On December 20, 2018, Plaintiff filed a Notice of Signed Proposed Consent
 2    Decree and 45-Day Federal Agency Review Period [Dkt. 47], advising the Court of
 3    the resolution of the matter, the submission of the Proposed Consent Decree to the
 4    government and the intention of Plaintiff to submit the Consent Decree to the Court
 5    upon expiration of the 45-day review period.
 6          On January 24, 2019, the government filed a Motion to Extend United States’
 7    Review Period Based on Lapse of Appropriations [Dkt. 48].
 8          On January 25, 2019, the Court granted the government’s Motion [Dkt. 49].
 9          On March 4, 2019, the government advised the Court that it sought, and the
10    parties agreed, to modification to two provisions of the Proposed Consent Decree
11    [Dkt. 51].
12          On April 16, 2019, the parties submitted the Joint Stipulation for Order to
13    Enter Consent Decree and Dismiss, and a Proposed Order [Dkt. 53].
14          The parties await the Court’s Order.
15

16    Dated: May 13, 2019                   BRODSKY & SMITH, LLC
17                                          By: s/ Evan J. Smith (SBN 242352)
18
                                            Evan J. Smith

19                                          Attorneys for Plaintiff
20
      Dated: May 13, 2019                   FAEGRE BAKER DANIELS, LLP
21

22                                          By: s/Tarifa B. Laddon (SBN 240419)
                                            Tarifa B. Laddon
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                                            Attorneys for Defendant
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